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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA


                                                      )
   SYMBOLOGY INNOVATIONS LLC,                         )
                                                             C.A. No. 3:20-cv-00963
                                                      )
                          Plaintiff,                  )
                                                             JUDGE TIMOTHY J. CORRIGAN
                                                      )
                  v.                                  )
                                                             MAGISTRATE JUDGE
                                                      )
                                                             JOEL B. TOOMEY
   VAC-CON, INC.,                                     )
                                                      )
                          Defendant.                  )

                   NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Now comes Plaintiff, Symbology Innovations, LLC, by and through its counsel,

  pursuant to Fed. R. Civ. P. 41(a)(1), and hereby voluntarily dismisses all of the claims asserted

  against Defendant Vac-Con, Inc. in the within action WITH PREJUDICE. Vac-Con, Inc. has

  not served an answer or a motion for summary judgment.

   Dated: October 30, 2020                          Respectfully submitted,

                                                    /s/ Howard L. Wernow
                                                    Howard L. Wernow B.C.S.
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                                                    the Florida Bar

                                                    ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the above and foregoing

  document has been served on October 30, 2020, to all counsel of record who is deemed to have

  consented to electronic service via the Court’s CM/ECF system.



                                                        /s/ Howard L. Wernow
                                                        Howard L. Wernow




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